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OF TEXAS






NO. WR-78,418-01






EX PARTE MARIO ALBERT VALADEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. CR2010-417 IN THE 207TH DISTRICT COURT
FROM COMAL  COUNTY 





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a
habitation and sentenced to imprisonment for life.  The Third Court of Appeals affirmed his
conviction.  Valadez v. State, No. 03-11-00224-CR (Tex. App.--Austin Oct. 26, 2011, pet. dism'd).

	On September 14, 2012,  the trial court entered an order designating issues.  The habeas
record has been forwarded to this Court prematurely.  We remand this application to the 207th
District Court of Comal County to allow the trial judge to complete an evidentiary investigation and
enter findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: October 10, 2012

Do not publish 


	


